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 5                                UNITED STATES DISRICT COURT
 6                             EASTERN DISTRICT OF CALIFORNIA
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   UNITED STATES OF AMERICA, )                 CASE NO: 1:16-CR-00069 LJO SKO
 9                           )
        Plaintiff,           )                 ORDER RE:
10                           )                 DEFENDANT NASTASHA PARKS’ REQUEST
   vs.                       )                 FOR LEAVE TO FILE DOCUMENT UNDER
11                           )                 SEAL
   NASTASHA PARKS,           )
12                           )
        Defendant.           )
                             )
13                           )
14
            This matter is before the Court on the request of defendant Nastasha Parks to file under
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     seal a request to pace her individual case on calendar. Based on the sensitive medical issues
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     addressed in the defendant’s calendaring request, it is appropriate that it be filed under seal.
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     Accordingly, the defendant’s sealing request is GRANTED. Defendant’s request to calendar
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     her individual case shall be filed under seal.
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20 IT IS SO ORDERED.
21      Dated:     January 26, 2018                          /s/ Lawrence J. O’Neill _____
                                                       UNITED STATES CHIEF DISTRICT JUDGE
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                                               SEALING ORDER
